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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


  RACHEL CLARK                                                                      PLAINTIFF

  VS                                                          CIVIL ACTION NO. 3:07CV-339-H

  HUBER TIRE, INC., et al.                                                     DEFENDANT(S)


                                             ORDER



         Counsel having notified the Court of a settlement in this matter on July 26, 2010; IT IS
  HEREBY ORDERED that this case is DISMISSED from the Court's docket with leave to
  reinstate within forty-five (45) days if the settlement is not consummated. Counsel may tender a
  supplemental order of dismissal if they so desire. The jury trial scheduled for August 24, 2010
  is remanded from the Court’s docket.

  Date: July 27, 2010




                                                 August 2, 2010




  Copies:
  All counsel
  Jury Clerk
